                    Case 14-20183-jpk           Doc 15       Filed 04/09/14        Page 1 of 1



                             IN THE UNITED STATES BANKRUPTCY COURT
                              FOR THE NORTHERN DISTRICT OF INDIANA
                                        HAMMOND DIVISION

IN RE:                                                )
                                                      )
DEBORAH K. SALLADE,                                   )        CASE NO.: 14-20183
                                                      )
                   Debtor.                            )        Chapter 7

                                           MOTION FOR TURNOVER

           Comes now Kenneth A. Manning, Trustee, and in support of his Motion For Turnover, shows the Court as
follows:

           1.      That movant was appointed Trustee in the above-captioned matter.

           2.      Debtor filed Chapter 7 bankruptcy on January 29, 2014.

           3.      Debtor has provided copies of 2013 State and Federal Tax Returns.

           4.      The tax return shows Debtors received a Federal Refund of $1,451.00 and Indiana State Refund of
                   $21.00.

           5.      The Trustee is seeking Turnover in the sum of $1,472.00 from Debtor, which is the 2013 pro-rated
                   federal tax refunds less any earned income credit (EIC) pursuant to §32 of the Internal Revenue
                   Code.

           6.      The above requested items are property of the estate as defined by 11 U.S.C. Section 541.

           WHEREFORE, Trustee prays that the Court issue an Order directing the debtors to turnover 2013
           non-exempt, pro-rated State and Federal Refunds. That in the event the debtors fails to comply,
           Trustee may follow appropriate procedure to Object or Revoke Debtor’s Discharge; and for all
           other orders deemed proper under the circumstances.

Dated: April 9, 2014
                                                      By: /s/ Kenneth A. Manning, Trustee
                                                      Kenneth A. Manning, Trustee
                                                      Manning & Gonzalez
                                                      200 Monticello Drive
                                                      Dyer, Indiana 46311
                                                      (219) 865-8376

                                           CERTIFICATE OF SERVICE

         I hereby certify that on April 9, 2014, service of a true and complete copy of the above document was served
by:
Electronic Notice on:
United States Trustee – ustregion10.soecf@usdoj.gov
Daniel W. Matern - dmatern@mm-bklaw.com
And by regular mail upon:
Deborah K Sallade, 1606 Lake Ave., Whiting, IN 46394
                                                                  /s/ Kenneth A. Manning
                                                                  Kenneth A. Manning
